Case 1:04-cr-10050-.]DT Document 29 Filed 05/09/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DIS'[`RICT COUR'F"'ED BY~*--~~_~» DC

FOR THE WESTERN DISTRICT OF TENNES§§EAY -g PH h: 32
EASTERN DIVISION

FEO§S§H? R. Dl TROL|O

CLEF<§&< OF U.S. D|ST. C`l

‘J't`.ij OF TN.-JACKSON

 

UNITED STATES OF AMERICA, )
Plaintiff, §
VS. § No. 04-10050-T
BILLY WAYNE MOORE, ))
Defendant. l
ORDER

 

M. Dianne Smothers, court-appointed defense counsel, has moved to be relieved from
further representation of defendant in this matter because of a conflict of interest For good
cause shown, the motion is granted Assistant Federal Defender M. Dianne Smothers and
the office of the Federal Defender are hereby relieved of further responsibility in this action.
A member of the Criminal Justice Act Panel will be appointed to represent defendant in all
further proceedings

IT IS SO ORDERED.

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JA S D. TODD
ITED STATES DISTRICT JUDGE

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Thle document entered on the dockets fn oomr.§|anee
with Rule 55 end!or 32(b) FFlCrP en 0

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case l:04-CR-10050 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

